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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                                 Case No. 20-cv-22967-BLOOM

 OPTIMUS MSO II INC.,

        Plaintiff,

 vs.

 SIMPLY HEALTHCARE PLANS, INC.,

        Defendant.

 ___________________________________________/

 PLAINTIFF OPTIMUS MSO II INC.’S CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

       Plaintiff, OPTIMUS MSO II INC. (“Plaintiff”), by and through undersigned counsel,

 hereby files its Certificate of Interested Persons and Corporate Disclosure Statement, and

 states as follows:

       1)    Optimus MSO II, Inc., (“Optimus” or “Plaintiff”) is a Florida corporation.

       2)    The following is a list of persons, associated persons, firms, partnerships, and/or

 corporations that may have a financial interest in the outcome of this case, including

 subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable legal

 entities related to the parties.

            a)   Optimus MSO II Inc. (Plaintiff);

            b)   Hirzel Dreyfuss & Dempsey, PLLC. (Counsel for Plaintiff);

            c)   Leon F. Hirzel (Counsel for Plaintiff);

            d)   Patrick G. Dempsey (Counsel for Plaintiff);

            e)   Alec Hayes (Counsel for Plaintiff);

            f)   Simply Healthcare Plans, Inc. (Defendant);


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         g)   Amerigroup Corporation (Parent of Defendant);

         h)   ATH Holding Company, LLC (Parent of Defendant);

         i)Anthem, Inc. (Parent of Defendant);

         j)   Hogan Lovells US LLP (Counsel for Defendant);

         k)   Craig H. Smith (Counsel for Defendant);

         l)   James L. VanLandingham (Counsel for Defendant).

 Dated: August 27, 2020.                  Respectfully submitted,

                                          HIRZEL DREYFUSS & DEMPSEY PLLC
                                          Counsel for Plaintiff
                                          2333 Brickell Ave, Suite A-1
                                          Miami, Florida 33129-2497
                                          Telephone: (305) 615-1617
                                          Facsimile: (305) 615-1585

                                          By: /s/ Patrick G. Dempsey
                                                 LEON F. HIRZEL
                                                  Florida Bar No. 085966
                                                  hirzel@hddlawfirm.com
                                                  PATRICK G. DEMPSEY
                                                  Florida Bar No. 27676
                                                  dempsey@hddlawfirm.com

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 27, 2020, a true and correct copy of the

 foregoing was electronically filed with the Clerk of Court using CM/ECF. Copies of the

 foregoing document will be served upon interested counsel via transmissions of Notices of

 Electronic Filing generated by CM/ECF.

                                          By: /s/ Patrick G. Dempsey
                                                  PATRICK DEMPSEY




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